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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES – GENERAL

    Case No.    CV 16-2859-CAS (GJSx)                                                 Date   June 26, 2018
    Title       MACOM Technology Solutions Holdings, Inc., et al. v. Infineon Technologies AG, et al.



    Present: The Honorable    GAIL J. STANDISH, U.S. MAGISTRATE JUDGE
                      E. Carson                                                        XTR
                    Deputy Clerk                                        Court Reporter / Recorder

            Attorneys Present for Plaintiff(s):                    Attorneys Present for Defendant(s):
                   Amanda J. Tessar                                             Jeffery D. Baxter
                 Elizabeth M. Banzhoff                                          Brian D. Johnston
                    Ellisen S. Turner                                           Linda M. Burrow
    Proceedings:           Telephonic Discovery Status Conference; Order

The case is called, and appearances are stated for the record.

The Court confers with counsel regarding the status of discovery and the three outstanding discovery
motions. The Court directs counsel to further meet and confer in an effort to narrow the issues in dispute.
By no later than Tuesday, July 3, 2018, counsel shall: 1) submit to the Court, binders containing the
memorandum of points and authorities and evidence related to each of the three discovery motions as
further discussed on the call, and 2) send a joint email to the Court with a summary of the remaining
outstanding issues broken down per motion.

IT IS SO ORDERED.

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                                                               Initials of Preparer          efc

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